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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

JOHNNY O. OLIVERIO,
          Plaintiff,

v.                                                   Case No: 3:23cv328

VIRGINIA COMMONWEALTH UNIVERSITY,

                and

DR. RAO, President of VCU,

               and

AMY ANDRES, Director and Associate University Librarian
     VCU art (VCUart) Qatar Libraries,

               and

TERESA DOHERTY, MLIS, Student Success Librarian
          Defendants.


                                   NOTICE OF REMOVAL

       Defendants, the Virginia Commonwealth University Board of Visitors,1 Dr. Rao (President

of VCU), Amy Andres (Director and Associate University Librarian VCUart Qatar Libraries), and

Teresa Doherty (Student Success Librarian) each in their official capacity, by counsel and pursuant

to 28 U.S.C. §§ 1331, 1441 and 1446, hereby remove this action from the Circuit Court for the

City of Richmond, Virginia to the United States District Court for the Eastern District of Virginia,

Richmond Division.




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                                                      See Virginia Code §23.1-2300. The entity
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       1.     Jurisdiction is vested in this Court pursuant to The Family Educational Rights and

Privacy Act of 1974, 20 U.S.C. § 1232g (FERPA).

       2.     Venue is proper in this court because the City of Richmond, Virginia lies within the

Eastern District of Virginia, Richmond Division.

       3.      This civil action commenced in the Circuit Court for the City of Richmond,

Virginia, on or about March 28, 2023, with the filing of a Complaint entitled Johnny O Oliverio v.

v. Virginia Commonwealth University, et. al., Case No. CL23-1624-3.

       4.      Pursuant to 28 U.S.C. § 1446(b), Defendant VCU was served a copy of the

Complaint on April 25, 2023.

       5.      Defendant VCU was served a copy of an Amended Complaint on May 5, 2023.

       6.      Accordingly, this Notice of Removal has been filed within 30 days after receipt,

through service or otherwise, and is timely.

       7.      Attached hereto, and made a part hereof, is a copy of the Complaint filed in the

Circuit Court and served on VCU. See Exhibit A.

       8.      Attached hereto, and made a part hereof, is a copy of the Amended Complaint filed

in the Circuit Court and served on VCU. See Exhibit B.

       9.      As set forth in the Complaint, Plaintiff has brought purported allegations against

Defendants VCU, Rao, Andres and Doherty arising under FERPA.

       10.     The above-styled action is a civil action that involves a federal question over which

this Court has original jurisdiction pursuant to 28 U.S.C. § 1331, as this action involves claims

arising out of the Constitution, laws and/or treaties of the United States.




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       11.     All defendants who have been properly joined and served join in or consent to the

removal of the action to federal court, as required by 28 U.S.C. § 1446(b)(2)(A).2

       12.     This matter is therefore removable to federal court.

       13.     A Notice of Filing of Notice of Removal is being filed contemporaneously with the

Clerk of the Circuit Court for the City of Richmond, Virginia. A copy of the Notice of Filing of

Notice of Removal is attached as Exhibit C.

       WHEREFORE, the Virginia Commonwealth University Board of Visitors hereby request

that this action be removed to this Court.

                                                     Respectfully Submitted,
                                                     Virginia Commonwealth University,
                                                     Dr. Rao in his official capacity,
                                                     Amy Andres in her official capacity, and
                                                     Teresa Doherty in her official capacity

                                                     By: ____________/s/_________________
                                                     G. William Norris, Jr. (VSB No.: 41754)
                                                     Senior Assistant Attorney General and
                                                            Associate University Counsel

                                                     M. Elizabeth Griffin (VSB No.: 37745)
                                                     Senior Assistant Attorney General and
                                                            Associate University Counsel

                                                     Virginia Commonwealth University
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                                                     Counsel for Defendants

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  To date, the Individual Defendants have not been served with either the original Complaint or
the Amended Complaint. However, VCU is filing this Motion to Dismiss on the official capacity
claims against the Individual Defendants               a suit against a state official in his or her
official capacity is not a suit against the official but rather is a suit against the official's
Brandon v. Holt, U.S. 464, 471 (1985); Herron v. Va. Commonwealth Univ., 366 F. Supp. 2d 355,
363-64 (E.D. Va. 2004).

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Jason S. Miyares
Attorney General of Virginia

Steven G. Popps
Deputy Attorney General

Coke M. Stewart
Senior Assistant Attorney General/ HESS Section Chief

                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 16th day of May, 2023, the foregoing NOTICE OF

REMOVAL was filed electronically with the Clerk of Court using the CM/ECF system. I further

certify that a paper copy of the foregoing Notice was sent via email and U.S. Mail, postage prepaid

to the following:

                                  Johnny O Oliverio
                                  1425 Green Pasture Road
                                  Sandston, Virginia 23150
                                  JohnnyO@TenthDegreeRealEstate.com
                                  Pro se Plaintiff

                                                     By: ____________/s/_____________
                                                     G. William Norris, Jr. (VSB No.: 41754)
                                                     Senior Assistant Attorney General and
                                                            Associate University Counsel

                                                     M. Elizabeth Griffin (VSB No.: 37745)
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                                                     Counsel for Defendants




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